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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

                                                                NO. 24-CR-10259-DJC
        v.

MATTHEW FARWELL,
Defendant.
                                  INTIAL STATUS REPORT AND
                                 ORDER ON EXCLUDABLE DELAY


KELLEY, U.S.M.J.


        Defendant had an initial status conference scheduled for October 17, 2024. The parties filed a

joint status report. (#25.)

        Automatic discovery has been provided by the government and defendant is reviewing it.

Defendant requests expert disclosures and they shall be provided by the government 90 days before

trial, and the defendant shall provide expert disclosures 60 days before trial, and any rebuttal expert

disclosures shall be made by the government 30 days before trial.

        The case is continued to December 3, 2024 at 12:00 p.m. for an interim status conference to

be held in person.

        The court finds that the interests of justice in this case, i.e., to allow defendant time to prepare

the case for trial or other disposition, outweigh the best interests of the public and defendant for a trial

within seventy days of the date of indictment. Accordingly, with the agreement of the parties, it is

hereby ORDERED that, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A), the Clerk of this




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Court enter excludable time for the period from October 17, 2024, up to and including December 3,

2024. 1

                                                            /s/ M. Page Kelley
                                                            M. PAGE KELLEY
                                                            United States Magistrate Judge




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  The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United States
Magistrates in the United States District Court for the District of Massachusetts, any party may move for
reconsideration by a district judge of the determination(s) and order(s) set forth herein within fourteen (14)
days after receipt of a copy of this order, unless a different time is prescribed by this court or the district
judge. The party seeking reconsideration shall file with the Clerk of this Court, and serve upon all parties, a
written notice of the motion which shall specifically designate the order or part thereof to be reconsidered
and the basis for the objection thereto. The district judge, upon timely motion, shall reconsider the magistrate
judge's order and set aside any portion thereof found to be clearly erroneous in fact or contrary to law. The
parties are further advised that the United States Court of Appeals for this Circuit has indicated that failure to
comply with this rule shall preclude further appellate review. See Phinney v. Wentworth Douglas Hospital,
199 F.3d 1 (1st Cir. 1999); Sunview Condo. Ass’n v. Flexel Int’l, 116 F.3d 962 (1st Cir. 1997); Pagano v.
Frank, 983 F.2d 343 (1st Cir. 1993).

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